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                                                                      United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                            March 08, 2023
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                           Nathan Ochsner, Clerk

                         GALVESTON DIVISION

TERRY PETTEWAY, THE                   §
HONORABLE DERRECK ROSE,               §
MICHAEL MONTEZ, SONNY                 §
JAMES and PENNY POPE,                 §
                                      §
                   Plaintiffs,        §     Civil Action No. 3:22-cv-57
                                      §
v.                                    §
                                      §
GALVESTON, TEXAS, and                 §
HONORABLE MARK HENRY, in              §
his official capacity as Galveston    §
County Judge,                         §
                                      §
                   Defendants.        §
                                      §
UNITED STATES OF AMERICA,             §
                                      §
                   Plaintiff,         §
                                      §
v.                                    §
                                      §     Civil Action No. 3:22-cv-93
GALVESTON, TEXAS,                     §
GALVESTON COUNTY                      §
COMMISSIONERS COURT, and              §
HONORABLE MARK HENRY, in              §
his official capacity as Galveston    §
County Judge,                         §
                                      §
                   Defendants.        §
                                      §
Dickinson Bay Area Branch NAACP,      §
GALVESTON BRANCH NAACP,               §
MAINLAND BRANCH NAACP,                §
GALVESTON LULAC COUNCIL               §
151, EDNA COURVILLE, JOE A.           §
COMPIAN, and LEON PHILLIPS,           §     Civil Action No. 3:22-cv-117
                                      §




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                     Plaintiffs,            §
                                            §
v.                                          §
                                            §
GALVESTON, TEXAS,                           §
HONORABLE MARK HENRY, in                    §
his official capacity as Galveston          §
County Judge, and DWIGHT D.                 §
SULLIVAN, in his official capacity as       §
Galveston County Clerk                      §
                                            §
                     Defendants.            §
                                            §

                                   ORDER SETTING TRIAL

        Upon consideration of the Parties’ Joint Motion for Trial Setting and finding it just

and appropriate to be granted, the Court GRANTS the Joint Motion for Trial Setting.

        Accordingly, the Court ORDERS that the Parties appear for trial on:

August 7, 2023.

        Signed on Galveston Island this 8th day of March, 2023.


                                             ____________________________________
                                             JEFFREY VINCENT BROWN
                                             UNITED STATES DISTRICT JUDGE




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